
SHEPHERD, Circuit Judge,
concurring in part, dissenting in part, and concurring in the judgment.
I am pleased to concur with the majority’s decision holding (1) that there was sufficient evidence to support Kelly’s conviction for possession or control of a firearm and (2) that the district court failed to make an individualized showing of the need for special condition 15 in this case. Further, I agree with the majority’s action of affirming the conviction but vacating special condition 15 and remanding to the district court.
I dissent from the majority’s extended discussion as to the overly broad nature of special condition 15 as our decision in United States v. Simons, 614 F.3d 475 (8th Cir.2010), alone, is sufficient to invalidate the special condition.
